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IN THE UNITED STATES DISTRICT COURT uNrrEo STATES D|STR|cTCQURT
FOR THE DISTRICT OF COLORADO DENVER,COLORADO

UAN 2 3 2013

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CLERK

Civil Action No. 1:12-cv-02072-BNB

 

 

ARNOLD A. CARY ,
V.
JOHN HICKENLOOPER] ,

 

State of Colorado, Governor,

TOM CLEMENTS, 1
CDOC, Executive Director,

REA TIMME, ,
CTCF, Warden,

DAVID TESSIER, ,
CTCF, Health Services Administrator,

SUSAN M. TIONA, M.D., ,
CTCF, Health Services Physician,

JOHN V. BUGLEWICZ, M.D., ,
CTCF, Health Services Physician,
and Fremont County Commissioner,

 

LINSEY FISH DePENA, M.D., ,
CTCF, Former Health Services

Physician,

MIKE STIEHL, ,

 

Fremont County Commissioner,

ALANO MAYES, ,
Canon City, City Attorney,

RODNEY ACHEN, ,
CTCF, Captain Food Services,

RONALD WILLIAMS, ,
CTCF, Lieutenant,

CHRISTINA TURNER, , Defendant(s)
CTCF, Sergeant,

  

 

 

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ROBERT BURNS, ,
CTCF, Correctional Officer,

DANIEL BRATINA, ,
CTCF, Correctional Officer,

JOHN DOE #1, ,
J-COR Mechanical, President,

JOHN DOE #2, ,
Mountain Masonry, President,

JOHN DOE #3, ,
BVCF, Warden,

RENA WOOD, ,
BVCF, Sergeant,

GENA WOODS, , Defendant(s),
BVCF, Sergeant,

 

 

AMENDED PRISONER COMPLAINT PURSUANT TO 42 U.S.C. § 1983

 

COMES NOW, Arnold A. Cary, Plaintiff, Pro Se, herein, and res-
pectfully petitions this Honorable Court pursuant to their order
to amend previous Prisoner Complaint, seeking relief pursuant to
42 U.S.C. § 1983 for the unlawful imposition of condition of con-
finement while incarcerated by the Colorado Department of Correc-
tions, in violation of the prohibition set forth in the cruel and
unusual punishment clause of the 8th Amendment to the United

States Constitution and as it further set forth in the following:

 

 

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A . PARTIES

Arnold A. Cary, # 136835, Sterling Correctional Facility

 

(Ebmti§?snme,pdszeridztddamknruden,adcnmmiemmlmgadke§)

P.O. Box 6000 Sterling, Colorado 80751-6000

 

John Hickenlooper, Colorado State Governor, Colorado State

 

@HB,tdiaamda&w§soffd§:d£admm

Capital, 200 East Colfax Avenuel Denver, Colorado 80203

 

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ailwfe¢me]a@_§_%§___&)KHIKGED.Bde&yeq&unymramma:

Plaintiff's rights have been violated by this state official.

 

Defendant was working for the state at the time of the acts.

 

Tom Clements, Executive Director, CDOC, 2862 South Circle

 

@hm»tide,aniaim&scf:£uxddh&mdxt)
Drive, Colorado Springs, Colorado 80906
Atthethe<jaims)aus;dinihdscmphdntanxe,wisdus<k&mdmtaddng\ndz
aware£sumela@_§_%§___db(GBU(GE».Bdedyeqdadlymranwem

Plaintiff's rights have been violated by this state official.

 

Defendant was working for the state at the time of the acts.

 

Rea Timme, CTCF Warden, CTCF, 275 West Highway 50, P.O. Box

 

(Mmatide,adadie§cfthtdddhdmt)
1010, Canon City, Colorado 81215-1010
N:Hetheckmms)aqudinddsomphdtamnzvasdusdiadmtaddgwn&r
odorofs&mehm@_§_%s___bb(GEU<GED.BdeEyeIpbmignranmen

Plaintiff's rights have been violated by this state official.

 

Defendant was working for the state at the time of the acts.

 

David Tessier, Health Services Administrator, CTCF, 275 West
(Nme,tnmazmdadtessoffmrdlddadat)

Highway 50, P.O. Box 1010, Canon City, Colorado 81215~1010

 

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odbrofswmeLJR_§_Es___ND(GIDKGND.fdidlyeq£adlgmranwem

Plaintiff's rights have been violated by this contract admin»~

 

istrator to provide treatment to the Plaintiff.

 

 

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)

A. PARTIES

6. Susan Tiona, M.D., CTCF Physician, CTCF, 275 West Highway 501
mme,tulazmda£hsscffd£ad£edat)

 

P.O. Box 1010, Canon City, Colorado 81215-1010
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Plaintiff's rights have been violated by this contract Physi-

cian failed to diagnose and treat toxic radiation exposure.

 

7. John V. Buglewicz, M.D., CTCF Physician, and Fremont County
QGMLtide,adadka§cfsbdnddedmt)

 

Commissioner, CTCF, 275 West Highway 50, P.O. Box 1010,

Canon City, Colorado 81215~1010
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ainsd§sznakm@_§_%s___No(GEU<GED.Bja&yemiahignrammax

Plaintifffs rights have been violated by this contract Physi-

cian failed to diagnose and treat toxic radiation exposure.

8. Linsey Fish DePena, M.D., Former CTCF Physician, DWCF, 10900
Ume,UME,adadkascfswethd§ddat)

Smith Road, P.O. Box 392005, Denver, Colorado 80239
N:Heijmadwmms)aue;dindmscnmmdmtamsavasdws<h&ntm:aikgln&r
aia:ofs&mehm£_§_R£___Na(GEU<GE».Bjaiyeniad1gnranma:

Plaintiff's rights have been Violated by this contract Physi-

cian failed to diagnose and treat toxic radiation exposure.

9. Mike Stiehl, Fremont County Commissioner, Fremont County Gov-
whm»tide,adadda§cfekhh1&dadmt)

ernment, 615 Macon Avenue, Canon City, Colorado 81215
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awrcfs&makm&_§_%§___&>KHEKCNI.BdeEyegmnnymrasmr:

Plaintiff's rights have been violated by this county official.

Defendant was working for the county at the time of the acts.

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10.

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A. PARTIES

Alano Mayes, City Attorney, Canon City, 128 Main Street,

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Canon City, Colorado 81212
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Plaintiff's rights have been violated by this city official.

Defendant was working as counsel for the City Water Depart-

ment at the time of the acts.

Rodney Achen, CTCF Captain, CTCF, 275 West Highway 50, P.O.
mme,tuiazmda&mas<ftathddedmt)

1010, Canon City, Colorado 81215-1010
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odordi§mm]a@_§_%s___N)KHIKGE».BdeEyeqwdnymraswr:

Plaintiff's rights have been violated by this state official.

Defendant was working for the state at the time of the acts.

Ronald Williams, CTCF Lieutenant, CTCF, 275 West Highway 50,
(Nme,tulaamdadhascfekwathddedat)

P.O. Box 1010, Canon City, Colorado 81215-1010
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awxwfstLeLIP_§_Ks___N)KHIKOI».BdeHyeqmnnymraer:

Plaintiff's rights have been violated by this state official.

Defendant was working for the state at the time of the acts.

Christina Turner, CTCF Sergeant, CTCF, 275 West Highway 50,
mme,tulaamda£n§scfueh&hddbdat)

P.O. Box 10101 Canon City, Colorado 81215-1010

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Plaintiff's rights have been Violated by this state official.

Defendant was working for the state at the time of the acts.

 

 

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14.

15.

16.

17.

 

A. PARTIES

Robert Burns, CTCF Correctional Officer, CTCF, 275 West

 

@hmhtiUe,aniaEn£SQfUddBmUidLhdmt)

Highway 50, P.O. Box 1010, Canon City, Colorado 81215~1010

 

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Plaintiff's rights have been violated by this state official.

 

Defendant was working for the state at the time of the acts.

 

Daniel Bratina, CTCF Correctional Officer, CTCF, 275 West
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Highway 50, P.O. Box 1010, Canon City! Colorado 81215-1010

 

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ahrcfsmme]aw_§_%s__jb(GEUKGELfrw@yeqmdnymraswr:

Plaintiff's rights have been violated by this state official.

 

Defendant was working for the state at the time of the acts..

 

John Doe #11 President of J-COR Mechanical, 15800 West 5th
(NIE,tRMLaniahnsscffdbanh1diedxt)

Avenue, Golden, Colorado 80401

 

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cjarcfs&melmk_§_%s___N)KHIKONI.BdeEyqudn§om:aEwr:

Plaintiff's rights have been violated by this contract person

working on the prison remodeling and contaminated the air.

John Doe #2, President of Mountain Masonry, 1850 Lucas Street
(Nm&‘Utk»aniaBn£soEsbmamU1diadat)

Canon City, Colorado 81212

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odwrofs&mehm@_§_%s___N>KHKKCND.BdeEyequnyom:asmr:

Plaintiff's rights have been violated by this contract person

working on the prison remodeling and contaminating the air.

 

 

 

 

 

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A. PARTIES

18. John Doe #3, 13ch warden, BVCF, 15125 Highway 24 & 2851 P.o.

19.

20.

 

Ohm1tuiazmdafm§sofswathddedmt)

Box 2017, Buena Vista, Colorado 81211

 

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odorofsumehma_§_&s___vb(GEEKGE».Bdedyemjakiynramwax

Plaintiff's rights have been violated by this state official.

 

Defendant was working for the state at the time of the acts.

 

Rena Wood, BVCF Sergeant, BVCF, 15125 Highway 24 & 285, P.O.

 

mama'dtk»amdadhes;ofemhh§nhlddbnimt)
Box 2017, Buena Vista, Colorado 81211
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ailmfsm£ehm&_§_¥s___N>KHHKCND.BdeEyeqmnnynrasmr:

Plaintiff's rights have been violated by this state official.

 

Defendant was working for the state at the time of the acts.

 

Gena Woods, BVCF Sergeant, BVCF, 15125 Highway 24 & 2851 P.O.
mme,dtw,adadda§cfnkewathd&admt)

Box 2017, Buena Vista, Colorado 81211

 

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Plaintiff's rights have been violated by this state official.

 

Defendant was working for the state at the time of the acts.

 

 

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B. JURISDICTION

1. I assert jurisdiction over civil rights claims pursuant to:
_§_ 28 U.S.c. § 1343 and 42 U.S.C. § 1983 (state prisoners).

2. Plaintiff's seeks`declaratory relief pursuant to:

_§_ 28 U.S.C. § 2201 and 2202.

3. Plaintiff's claims for injunctive relief are authorized by:
_§_ 28 U.S.C. § 2283 and 2284 and Rule 65 of the Federal Rules
of Civil Procedure.

4. The court has supplemental jurisdiction over Plaintiff's state
law claims under:

x 28 u.s.c. § 1367.
c. NATURE oF THE cAsE

1. Alleged and upon information and belief that Plaintiff states
that: This document is to explain and describe the current condi-
tion of confinement of the Plaintiff who is incarcerated at the
Colorado Territorial Correctional Facility (CTCF). Plaintiff asks
the court's patience and indulgence in the review of the three
claims stated herein as they contain a large amount of historical
and technological information. Plaintiff has made every effort to
condense the presentation of his complaint as much as possible.
However, in a case of this nature, a great deal of detailed infor-
mation is necessary for a clear understanding of the issues.

2. The following information will describe hazardous conditions
of confinement that include exposure to toxic contamination by

such toxins as Uranium mill by-products, Trichloroethylene (TCE)

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C. NATURE OF THE CASE

(C,HCIa), heavy metals, asbestos, black mold, bacteria, construc-
tion dust, and infestations of vermin.

3. The Plaintiff's investigation revealed these toxins and their
locations, and identified all influential parties as named in
various governmental reports, newspaper articles, and television
investigation commentary. The information describes the violat-
ions of federal health safety, and environmental standards by
various individuals, companies, and agencies. These agencies and
individuals have known of the existence of such toxic contamina-
tion for many years and have chosen not to act in a timely manner
and consistently failed to act upon their own policies and regul-
ations. Instead they conspired together to cover up the magnit-
ude of the facts of the matter. Particularly disturbing is their
knowing obfuscation of the fact that plumes of various toxins con-
tinue to spread throughout the Canon City area, including CTCF,

It is unconscionable that none of the authorities, mentioned in
this complaint, have not even attempted to give notice to the
Plaintiff and did not protect his health, safety or environment,
which raises to the level of deliberate indifference.

4. Defendants include the CDOC and CTCF staff, the State of Colo-

rado, and other of its employees, who knew that ever since the

 

1980tys (a period of over 30 years) that toxic contaminants from
the Cotter Uranium Mill were infiltrating the ground and surface
water and becoming airborne. At that time the Cotter Mill site

was declared a Superfund site by the EPA.

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D. CAUSE CF ACTION

CLAIM ONE: CRUEL AND UNUSUAL PUNISHMENT/Bth AMENDMENT VIOLATION

 

SUPPORTING FACTS:
1. Alleged and upon information and belief the Plaintiff states
that: The Plaintiff discovered that less than 8,000 feet from
the CTCF walls lies the largest EPA Superfund Cleanup site in the
United States. This toxicological nightmare is the former loca-
tion of the Cold War era Cotter Uranium Mill. Cotter Corporation,
and its parent company, General Atomics, were long time suppliers
of uranium to the US Government and industry. The Cotter Mill,
is located right outside Canon City, where they started refining
ore in 1958 and continued operations until 2011. Cotter disposed
of various types of toxic waste and by-products of the ore milling
process into 11 unlined "containment" ponds for over 20 years
until 1982. In that year the smaller ponds were replaced with
two large lined impoundment ponds. Though this was an attempt to
improve the situation, the new liners were improperly installed
over an unprepared rocky surface which resulted in perforations
in the liners.
2. The Cotter Mill is now being dismantled but rather than per-
forming this work according to any sort of adequate decommission-

ing plan it was performed haphazardly without so much as a comp-

 

rehensive environmental impact study, reclamation plan. Cotter
is now filling the containment ponds with dismantled radioactive
mill machinery, contaminated top soil, toxic chemicals, and mill

tailings. Currently, the ponds contain 4.4 million cubic yards

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D. CAUSE OF ACTION

of radioactive, and chemically toxic materials.

3. Ground water has been contaminated by the uncontrolled radio-
active materials and industrial toxins from these leaking contain~
ment ponds. The ground water in the Canon City/CTCF area contain
carcinogenic toxins at concentrations that far exceed all federal
and state water quality standards. The CDPHE conducted tests that
demonstrated that these contaminates are transmitted over large
distances through both water and air transmission vectors. The
contaminates were found to be at levels of 713 parts per billion
(ppb) in February and 89 ppb in July of 2011 which represent the
most recent data reported by the CDPHE. The CDPHE stated that
anything higher than 39 ppb is a health risk. The contaminates
not only flow below ground in the water table but also above gro-
und as they seep into several tributaries of the Arkansas River.
4. It is widely known from newspaper articles, published lawsuits
and numerous public meetings that the unchecked toxic run-off from
the mill and toxic waste have found their way into the Arkansas
River which flows through Canon City. In fact part of the Arkan-
sas River is diverted into a canal that CTCF draws its grounds
irrigation water. 1

5. Defendant Alano Mayes, City Attorney, and Mike Stiehl, Frem-
ont County Commissioner are aware through their affiliation with
the Canon City Water Department of the serious health risks posed
by the incomplete removal of toxic compounds and radioactive part-

icles from the cities water supply and yet they make no effort to

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D. CAUSE OF ACTION

warn the prisoners at CTCF, including the Plaintiff, that their
drinking water is contaminated with carcinogenic and is threaten-
ing to life and health,

6. Radon gas emissions from the tailing impoundment ponds at the
Cotter Mill site have recently increased dramatically due to the
droughts water evaporation and the continued spread of radioactive
elements in the water table. Radon gas nuclides attach to dust
particles causing the previously inert dust to become radioactive.
Radon gas infiltrates the soil and is then scavenged and subsequ-
ently re-deposited each time the wind blows. EPA spokeswoman
Sonya Pennock reported, "[Radon] vapors can seep up through the
soil and get into homes. Then you have not only a drinking [water]
issue but an inhalation hazards?*

7. The Canon City Municipal Water Treatment Authority delivers

to CTCF contaminated toxic water including the chemical Trichloro-
ethylene which is known to cause damage to the liver, kidneys,
nervous system, and circulatory system if ingested or inhaled.

8. The Cotter Mill contamination of ground water with radioactive
particles and industrial solvents was first identified by the EPA
and the CDPHE several years ago. However, the CDPHE acting dire-
ctor, Martha Rudloph, has declined to comment on any allegations
concerning the Cotter Superfund Clean-up site. This is, presuma-
bly, because the State of Colorado stands to bear the expense of
the clean-up if the Cotter Corporation walks away from its respon~

sibility to reclaim the site and rehabilitate the ground water

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D. CAUSE OF ACTION

flowing into the Arkansas River. Cotter has threatened to do so
on several occasions due to the facts that, as a practical matter,
reclaiming the site and river is practically impossibility.

9. In August 2011 a television report disclosed that alarm is
growing over the radioactive and chemical contamination of the
Arkansas River. KKTV News Reporter Mecca Rayne reported that
Colorado Springs decided to drop a water pipeline project that
would have drawn water from the Pueblo Reservoir due to concerns
about its toxcity. The Pueblo Reservoir is fed by the Arkansas
River and lies down stream from the Cotter Mill site.

10. Another CDPHE report dated June 28, 2011, and delivered to

the director Chris Urbina, stated, "The cancer causing chemical
Trichoroethylene was detected in the ground water at concentra-
tions up to 360 times federal health limits."

11. In a newspaper article October 2011 Amory Quinn, of the Cotter
Corporation, said, "Samples collected from wells north of the mill
were analyzed at an outside lab...which...indicated levels of Tri-
chloroethylene in concentrations...at 1800 ppd, 1200 ppb, [and]
490 ppb." The EPA's published safe level of exposure to this car-
cinogenic solvent is "5 ppb". EPA spokesperson Sonya Pennock re-
ported, "plumes of toxins have been detected moving underground
toward Canon City."

12. Russ Walker, professor of environmental science at Colorado Mesa
University said, "In the summer of 2011, Cotter committed a irre-

sponsible act of dumping an additional 90,000 gallons of solvent,

 

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D. CAUSE OF ACTION

radioactive mill materials, and contaminated debris into the ponds
inappropriately. You don't need a Ph.D. to think that's not the
best thing if there are holes that are un-repaired and leak."

13. Federal authorities eventually handed off cleanup management
to the Colorado State Health Department. Governor Hickenlooper's
plan was to evaluate Cotter's cleanup before a reopening of the
mill. Governor Hickenlooper, said, it would have to obtain a new
license, which would require a "very public process with a lot of
public input."

14. Additionally, Hickenlooper said, he will dispatch his chief
of staff, Roxane White, to the Cotter Mill July of 2012 to evalu-
ate cleanup efforts at the site declared a Superfund environmental
disaster in 1984. "This is very important to the people down
there," he said, "Im definitely looking at it, and Roxane is look-
ing at it, so we can understand it in some detail and assure our-
selves that there isn't risk to human health or the environment."
15. All named Defendant's as listed in the "PARTIES" were know-
ledgeable of and have been extensively briefed about the toxicol-
ogical hazards that exist at CTCF, Despite these facts they have
failed to do anything to protect the Plaintiff from harm caused
by the water and airborne radioactive contamination and cancer
producing industrial solvents contained in the mills containment
ponds. Plaintiff confronted all named CTCF's doctors and correc-
tional officers about the toxins in the water and air. When I

inquired they would avoid the subject and walk away.

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D. CAUSE OF ACTION

CLAIM TWO: IRREPARABLE INJURY/Sth AMENDMENT VIOLATION

 

SUPPORTING FACTS:
1. Alleged and upon information and belief the Plaintiff states
that: While incarcerated by the CDOC, and under the direction
and control of the defendants, the Plaintiff has been denied app-
ropriate medical care for both health problems that have developed
as a result of his exposure to water and airborne toxicological
hazards, as alleged in Claim One, as well as other medical prob-
lems that possibly have independently arisen during the course of
the Plaintiff's incarceration over the last six years.
2. The Plaintiff has sought care for his conditions for the past
18 months and exhausted all administrative remedies available to
him to secure such care but CTCF's Administrator David Tessier,
and doctors Susan Tiona, John Buglewicz, and Linsey Fish DePena,
continue to be indifferent to his serious medical needs. Plaint-
iff is being denied appropriate medical care in the treatment of
conditions that the CDOC itself created and, thereby, has turned
what were treatable conditions into what are now likely terminal.
31 Plaintiff is showing symptoms of radiation and toxic chemical
exposure. His radiation exposure has resulted in delayed effects
now in evidence. Delayed effects have resulted in liver, kidney,
lung, and immune system dysfunction. Plaintiff is showing signs
of injury to the following systems: Hematopietic, Nervous, Cardi-
ovascular, Pu&monary, Gastrointestinal, Urogenital, and Endocrine

System.

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D. cAUsE or AcTIoN

4. Plaintiff is ill from low dose radiation, carcinogenic chem-
ical, and heavy metal exposure and is demonstrating the following
symptoms:

a. Plaintiff's blood tests demonstrates an iron and vitamin B;,
deficiency which leads to a complex neurological syndrome result-
ing difficulty with balance. Plaintiff is receiving intramuscular
injections of 100mg of vitamin B¢, every other week. Plaintiff

has been informed by medical personal that these injections will

 

have to be continued for the rest of his life.

b. Plaintiff has developed lumbar spinal stenosis, a nervous
disorder, and is showing signs of cervical spondylosis, which
stems from chronic cervical disk degeneration. This causes ting-
ling in the hands and arms due to nerve root compression caused
by lateral herniation of the disk intruding on the nerve roots.

A MRI was ordered March 3, 2012 by a physician at Saint Thomas
More Hospital but, was denied by CDOC Colorado Springs and sustain
by CTCF Health Services Administrator David Tessier.

c. September 25, 2012 Plaintiff became ill, gushing massive
amounts of blood from his rectum, which manifested into an acute
lower gastrointestinal blood loss from his colon and was hospita-
lized in intensive care unit at Saint Thomas More Hospital. A
diagnostic colonoscopy test imaging was performed, resulting in
the Plaintiff receiving a blood transfusion.

d. Plaintiff experienced additional gastrointestinal problems
November 20, 2012. Plaintiff again was admitted into the emergency

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D. CAUSE OF ACTION

room at Saint Thomas More Hospital, Canon City, with an acute ab-
dominal pain in his epigastrium. A CT scan and ultrasound indic-
ated the presence of gallstones. The gallbladder was removed, and
unexpected complications resulted, and the Plaintiff was transfer-
red to Saint Mary Corwin Hospital in Pueblo, where additional gall-
stones were removed from his bile duct.

e. Plaintiff has developed a kidney cyst and recently disch-
arging blood in his urine and lives with extreme, daily abdominal
pain. This cyst is documented in a CT scan. Environmental expo-
sure to heavy metals, are consequence consistent with Plaintiff's
symptoms and lead to kidney dysfunction.

f. Plaintiff suffers from a chronic fungal infection of the
skin secondary to a primary infection in his lungs. He must med-
icate the area with anti-inflammatory steroidal preparation.

g. Plaintiff has developed numerous hemangiomas secondary to
liver damage. This became apparent when several blood veins rup-
turned. Protuberant blood veins have developed on Plaintiff's
scrotum, stomach, and inside the outer ear canal of both ears.

h. Plaintiff's recent blood test reveled that Thyroid-Stimu-
lant-Hormone (TSM) level is abnormal resulting in an increase of
his hyperthyroidism.

i. A cyst has developed on the back of Plaintiff's neck dir-
ectly over the area of his herniated cervical disk.

j. Plaintiff is experiencing muscular degeneration (atrophy)
of his forearm muscles. This degeneration, decline, or wasting

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D. CAUSE OF ACTION

away of the muscles and organs results from nerve damage and is a
direct result of radiation exposure according to Jacqueline A.
Nemer, M.D., an expert in environmental hazards.

k. Plaintiff was previously incarcerated at Buena Vista Corr-
ectional Facility where he was forced to work under John Doe #3,
Warden, Sgt, Rena Wood, and Sgt. Gena Woods for two weeks on a
extensive remodeling project the state undertook at the facility.
While engaged he was exposed to airborne friable asbestos, Plain-
tiff developed pneumonia, which damaged his lungs, resulting in a
diagnosis of pulmonary fibrosis. His acute and chronic condition
is aggravated by the inhalation of toxic substances such as radon
gas, asbestos, fiberglass fibers, concrete dust, and black mold.
All of these are encountered in Plaintiff's living situation in
Cell House One of CTCF, His symptoms resulted in him being in
need of 24/7 oxygen therapy. He must also receive daily nebulizer
treatments. Both will have to be continued for the rest of his
life.

l. Plaintiff is experiencing symptoms including nausea, vom-
iting, weakness, exhaustion, and lassitude. These symptoms are
occurring in combination with dehydration, anemia, and opportunis-
tic infections. The Plaintiff's prognosis is grim. His underlay~
ing condition, further potentiated by environmental radiation ex-
posure, asbestos exposure, and other assaults on his resiratory

system, are leading to a general collapse of his respiratory

system.

 

 

 

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D. CAUSE OF ACTION

5. As stated above, Plaintiff is dependent on bottled oxygen
which he must use at all times. Since he is only allowed to have
one bottle of oxygen in his possession at a time, when his oxygen
is low he has a standing written permission to make his way to the
clinic during scheduled movements to retrieve a new cylinder when-
ever one is needed. Plaintiff was repeatedly denied bottle oxy-
gen in a timely manner on numerous occasions by Lt. Williams, Sgt.
Turner, and C.O. Burns. These denials of oxygen occurred on a
daily bases stating in December of 2011 until the Plaintiff be-
came ill September 25, 2012.

6. These CTCF staff members were operating under the direction of
Warden Rea Timme, and conspiring to harass the Plaintiff for the
purpose of intimidating him into ending his legal activities.

7. Lt, Williams abused his power by ordering Plaintiff to be
housed on the second floor necessitating his having to climb four
flights of steps carring s heavy, dolly mounted, oxygen bottle up
and down the stairs.

8. C.O. Burns abused his power by ordering the Plaintiff to re-
turn to the cell house when he was out of oxygen and was attemp-
ting to obtain a replacement cylinder. This caused his blood
oxygen level to drop below safe levels. The C.O.'s action were
reported to medical, Don Smith, R.N., who called the cell house
and ordered the staff to stop their actions against the Plaintiff

but, staff continued the denial of oxygen.

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D. CAUSE OF ACTION

CLAIM THREE: CONDITIONS OF CONFINEMENT/Bth AMENDMENT VIOLATION

 

SUPPORTING FACTS:
1. Alleged an upon information and belief the Plaintiff states
that: The Plaintiff is forced to live in unsafe, functionally
obsolete, prison facilities loaded with friable asbestos and othL.
er toxicological hazards that this very court ordered closed over
30 years ago labeling it "beyond rehabilitation". Though the
facility was closed for a period it was subsequently reopened as
a medium custody level facility and has so remained ever since.
Though some facilities improvements have been undertaken, many of
the complaints of deficiencies, that led this court to condemn the
facilities in 1979, still remain or are even more at issue today
than they were 30 years ago, forcing the Plaintiff to live in a
antiquated facility that puts his health at risk.
2. Colorado Territorial Correctional Facility was constructed in
the 1860tys and originally consisted of one small cell house and
a hanging gallows. Over the past 150 years the complex has grown
to include four cell houses, a medical facility, infirmary, a large
kitchen/dining room building, various other support buildings as
well as recreational and administrative buildings. About twenty
years ago two of the cell houses were gutted and new free standing
interiors installed in the old, historically significant shells.
More recently these cell houses, which were originally designed to
house about 200 prisoners in single occupancy cells, had additio-

nal bunks installed in each cell doubling their capacity. In so

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D. CAUSE OF ACTION

doing the cell size was not changed so rather than one person in

a 6'x12' cell now there are two. The cells are so cramped they
can only be fitted with one desk, they are simply too small.

3. When the second bunks were added to every cell apparently no
one though of the consequences of a doubling of the cell house's
occupancy on the existing bathroom facilities which remained un-
changed. Finally, in 2011, a bathroom enlargement and moderniza-
tion project was launched. But while the bathrooms were being re-
modeled half of the facilities were taken out of service leaving
200 inmates to share two urinals, three toilets, and five showers.
This situation has persisted for nearly a year. When the long
awaited improved facilities were made operational they only moder-
ately increased in size. In March of 2012 the Director of CDOC,
Tom Clements visited the bathroom renovation. The Plaintiff, asked
Tom Clements about the water and air contamination. Tom Clements
avoided the question, and started speaking with another inmate.

4. The entire CTCF facility is heavily contaminated with friable
asbestos fiber which are not only used as an insulation material
but also imbedded in the concrete and other building materials as
a strengthening agent. Whenever remodeling and repair activities
are performed, friable asbestos is ejected into the air space and
no abatement protocol of any kind is followed to minimize the im-
pact on the Plaintiff's health, C.O. Daniel Bratina, supervised
the demolition performed by Mexican National inmates without pro-

tective clothing and masks.

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D. CAUSE OF ACTION

5. Defendant C.O. Daniel Bratina, supervised Defendants John Doe
#1, of J-COR Mechanical and John Doe #2, of Mountain Masonry thr-
oughout the duration of the entire remodel. They did not provide
any air filter system, allowing the living units to fill with a
cloud of dust on a daily basis. This project lasted for almost
one year.

6. A theater facility exists above the kitchen and two dining
halls which is not used due to the high levels of friable asbestos
raining down from the ceiling in that space. These make their
way into the HVAC return air plenums and get circulated to the
inhabited areas of the building,

7. The CTCF employed Mexican National prisoners to work in this
space removing ceiling tiles, and other asbestos bearing mater-
ials, during the nighttime hours. The thinking by Warden Timme,
apparently, was they could be more easily exploited into perform-
ing this hazardous task than could U.S. citizens. By the time
they develop symptoms of Mesothelioma they will have likely ser_
ved their sentence and been deported back to Mexico. No breath-
ing apparatus was provided these prisoner laborers. The adminis~
tration had them work nights to limit the general population's
knowledge of this operation.

8. No effort was made to abate airborne friable asbestos dust
from infiltrating areas where Plaintiff is forced to spend large
amounts of time as a flatware wrapper in one of the dining halls.

The airborne asbestos fibers also infiltrate the kitchen area and

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D. CAUSE OF ACTION

are blown from the overhead vents into the food preparation area.
9. The Plaintiff is forced to work in CTCF's food services prog-
ram and recently the facility failed to meet Public Health Depart-
ment standards. The ventilation system was found to be inadequ-
ate throughout the kitchen which discharges friable debris, dust,
and lint over the food preparation area. The kitchen has not been
updated since the early 1980tys and kitchen equipment replacement
is long overdue according to Captain Achen who oversees kitchen
operations.

10. Defendant Captain Rodney Achen, is aware that cockroaches and
mice are abundant in the kitchen and dining halls. Food is not
maintained or served at the proper temperature, again, due to ant-
iquated equipment therein. Leftover baked goods are stored in the
office storeroom, where mice droppings cover this food, of which
Captain Achen ordered the Plaintiff to plastic wrap this food in
that it could be used as road snacks for the inmates. These un-
sanitary conditions have a direct impact on the health of all pri-
soners including the Plaintiff,

11. Defendant Captain Rodney Achen keeps a 2§ gallon water dispen-
ser on his deck of outside clean drinking water for his personal
usage, and has commented that he will not drink CTCF's water.

12. The Plaintiff's health and safety has been negatively affected

by being forced to live in this toxic, "sick" facility.

 

 

 

 

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E. PREVIOUS LAWSUITS

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Nare(s) of defarhnt(s) in mar
Lmsnt:
Executive Director of CDOC and

Warden at Buena Vista Correctional Facility.

Duietnumeranioqrtnme:
10CV117 District Court, Eleventh

 

Judicial District Chaffee County, Colorado.

Gamsndsdingrkrlasmt:

Innocent of both charges, posses-
ion of dangerous contraband and damage to property.
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The Court upheld BVCF's discipline

 

hearings findings.

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Yes, without prejudice.

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Lmsnt:
Court of Appeals, Case Number

 

2011CA1833, Notice of Dismissal for failure to prosecute.
F. ADMINISTRATIVE RELIEF

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_§_Ks___(GEU<OEL There is a step one, two and three grievance.

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All three grievances were submitted, and have received them back.

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G. REQUEST FOR RELIEF

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WHEREFORE, Plaintiff respectfully prays that this court enter
judgment granting Plaintiff the following:

1. A declaratory judgment that the defendants acts, policies, and
practices describes herein violate Plaintiff's rights and liberty
interests under the 8th Amendment of the United States Constitu~
tion.

2. A preliminary and permanent injunction which:

(a) Requires Defendant John Hickenlooper to exercise his
authority and order the immediate evacuation and closure of CTCF
to protect Plaintiff, from suffering extreme pain, injury or dea-
th, due to the dangerous living conditions that exist at CTCF,

(b) Requires Defendant Tom Clements to exercise his statuto-
rily delegated authority and enforce Defendant Hickenlooper's or-
der to evacuate and close CTCF due to the Plaintiff's daily expo-
sure include enforcing CDOC's Administrative Regulations, polic-
ies, procedures, and rules pertaining to health and treatment.

(c) Requires Defendant Ton Clements to cease utilizing CDOC's
unwritten policies and procedures that deny proper medical treat-
ment and care to Plaintiff,

(d) Requires Defendant Tom Clements to protect Plaintiff from
living in any other dangerous environment, for which he should
personally be responsible and aware. Defendant Clements as Dire-

ctor of CDOC is responsible to confirm and act on findings of the

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G. REQUEST FOR RELIEF

CDPHE, EPA, and other agencies whose reports show that the Plain-
tiff's living conditions are environmentally unsafe and unsani-
tary. Clements shall correct the living conditions and supply
clean water.

(e) Require Rea Timme, Warden of CTCF to aid Defendant Hick-
enlooper and Clements in evacuating the prisoner population from
CTCF.

(f) Prohibit Defendants, their agents, employees, successors
in interest, and all other persons in active concert or particpa-
tion with them from performing acts of arrogance of power, such
as; harassing, threatening, punishing, or retaliating in anyway
against the Plaintiff because he filed this action.

3. Plaintiff desires to have a qualified opinion from a conflict-
free expert physician, with experience in disorders related to
environmental toxins and radiation exposure.

4. Plaintiff also, seeks a jury trial on all issues triable by
jury.

5. Compensatory damage in the amount of $500,000.00 against each
Defendant, jointly and severally.

6. Punitive damages in the amount of $1,000.000.00 against each
Defendant,

7. Plus all Plaintiff's attorney fees, court cost, and interest.

8. Any additional further relief as the court may deem just and

proper, and equitable.

 

 

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DECLARATION UNDER PENALTY OF PERJURY

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§1746; 18 U.S.C. § 1621.

Ecaoltedm January 18, 2012
(Date)

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